                 Case 23-11469-BLS   Doc 663-1   Filed 12/12/23   Page 1 of 6




                                         Exhibit 1

                                        Stipulation




DE:4887-1025-1414.2 03370.001
                 Case 23-11469-BLS            Doc 663-1       Filed 12/12/23        Page 2 of 6




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                     )
In re:                                                               ) Chapter 11
                                                                     )
AMERICAN PHYSICIAN PARTNERS, LLC, et al., 1                          ) Case No. 23-11469 (BLS)
                                                                     )
                                   Debtors.                          ) (Jointly Administered)
                                                                     )

STIPULATION BETWEEN DEBTORS AND WANDA GRIFFIS AND EARLE GRIFFIS
             REGARDING RELIEF FROM AUTOMATIC STAY

         This Stipulation (the “Stipulation”) by and between the above-captioned debtors and

debtors in possession (collectively, the “Debtors”) and Wanda Griffis and Earle Griffis

(“Plaintiffs”), to modify the automatic stay pursuant to the terms of this Stipulation.

         IT IS HEREBY STIPULATED by all parties to the above-captioned matter as follows:

         WHEREAS, on September 18, 2023 and continuing on September 19, 2023 (the “Petition

Date”), each Debtor filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code

in the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”). The

Debtors are operating their businesses and managing their properties as debtors in possession

pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

         WHEREAS, prior to the Petition Date, Plaintiffs filed a personal injury lawsuit against

Debtor APP of Florida ED, LLC, and others captioned Wanda Griffis and Earle Griffis v. Stephen

M. Roberts, M.D. et al., Case No. 2023-CA-000004 (1st Jud. Cir., Santa Rosa, Cty, Florida) (the

“Lawsuit”).



1 A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://dm.epiq11.com/AmericanPhysicianPartners. The location of
American Physician Partners, LLC’s principal place of business and the Debtors’ service address in these Chapter
11 Cases is 5121 Maryland Way Suite 300 Brentwood, TN 37027.
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DE:4887-1025-1414.2 03370.001
                 Case 23-11469-BLS        Doc 663-1      Filed 12/12/23    Page 3 of 6




         WHEREAS, on November 30, 2023, Plaintiffs filed a motion for relief from the automatic

stay in the Bankruptcy Court [Docket No. 512] (the “Stay Relief Motion”).

         WHEREAS, the Debtors and Plaintiffs (together, the “Parties”) have discussed a

modification of the automatic stay to permit Plaintiff to continue litigation against Debtor APP of

Florida ED, LLC (“APP of Florida”) as a nominal defendant to pursue insurance proceeds only

and to resolve the Stay Relief Motion.

         NOW, THEREFORE, the parties agree, subject to approval of the Court, as follows:

         1.        The foregoing recitals are hereby incorporated by reference into this Stipulation

with the same force and effect as if set forth fully hereinafter.

         2.        The automatic stay under 11 U.S.C. § 362 is modified to permit Plaintiff to proceed

with the Lawsuit to recover from the proceeds of applicable insurance only.

         3.        Plaintiff agrees and acknowledges that (1) any recovery arising from the Lawsuit

with respect to the Debtors or their estates is limited to funds made available from applicable

insurance policies, if any, and not from the Debtors or their estates, (2) to the extent that an

applicable insurance policies, if any, do not satisfy any judgment or settlement pursuant to the

Lawsuit, for any reason, neither the Debtors, their estates, or any of their successors shall satisfy

nor be liable for any such unsatisfied portion, which might otherwise be considered a general

unsecured claim in these chapter 11 cases, and Plaintiff shall not seek to collect on any such

unsatisfied portion from the Debtors, their estates, or any of their successors, whether through

filing a proof of claim or otherwise, and (3) Plaintiff agrees to hold the Debtors and their estates

harmless with respect to any claim that may be asserted by any insurance carrier on account of any

deductible or self-insured retention that must be satisfied prior to the payment to Plaintiff of any




DE:4887-1025-1414.2 03370.001                       2
                 Case 23-11469-BLS         Doc 663-1     Filed 12/12/23     Page 4 of 6




judgment or settlement by setting off any recovery by the amount of any such deductible or self-

insured retention.

         4.        Plaintiff agrees that any proof of claim filed by Plaintiff or scheduled in favor of

Plaintiff in connection with the Lawsuit or claims any held or asserted or unasserted by Plaintiff

against the Debtors, their estates, or their successors in these chapter 11 cases, if any, are, by entry

of this Stipulation, deemed disallowed and reflected as such on the official claims register, and the

Debtors’ claims and noticing agent may make appropriate adjustments to the official claims

register, and Plaintiff agrees to waive the right to any distribution in these chapter 11 cases.

         5.        Nothing in this Stipulation: (i) alters, modifies, or otherwise amends the terms and

conditions of, or the coverage provided by, any insurance policies issued at any time to any of the

Debtors, their affiliates or predecessors of any of the foregoing or of any agreements related

thereto; (ii) alters or modifies the duty, if any, that any applicable insurer or third party

administrator has to pay claims covered by any alleged applicable insurance policy; (iii); creates

or permits a direct right of action by Plaintiff against any insurers; or (iv) precludes or limits, in

any way, the rights of any insurer to contest and/or litigate the existence, primacy and/or scope of

available coverage under any allegedly applicable insurance policy.

         6.        The Parties shall cooperate with one another to seek Bankruptcy Court approval of

this Stipulation, which shall be effective upon the Bankruptcy Court’s entry of an order approving

this Stipulation.

         7.        Upon entry of an order approving this Stipulation, the Stay Relief Motion shall be

deemed resolved.




DE:4887-1025-1414.2 03370.001                       3
                 Case 23-11469-BLS         Doc 663-1      Filed 12/12/23     Page 5 of 6




         8.        By entering into this Stipulation, neither party is waiving nor will be deemed to

have waived any available claims or defenses, including at law, equity, or otherwise, except as

otherwise provided in this Stipulation.

         9.        Neither the Stipulation nor any negotiations and writings in connection with this

Stipulation will, in any way, be construed as or deemed to be evidence of or an admission on behalf

of any party regarding any claim or right that such party may have against the other party.

         10.       Each of the Parties hereto represents and warrants that it is duly authorized to enter

into and be bound by this Stipulation.

         11.       This Stipulation may be executed in multiple counter parts, any of which may be

transmitted by facsimile or electronic mail, and each of which will be deemed an original, but all

of which together will constitute one instrument.

         12.       The terms and conditions of this Stipulation shall be immediately effective and

enforceable upon its entry.

         13.       The Bankruptcy Court retains exclusive jurisdiction to resolve any dispute arising

from or related to the interpretation or enforcement of this Stipulation.



ACCEPTED AND AGREED TO:

Dated: December 12, 2023                          PACHULSKI STANG ZIEHL & JONES LLP


                                                  /s/ Peter J. Keane
                                                  Laura Davis Jones (DE Bar No. 2436)
                                                  David M. Bertenthal (CA Bar No. 167624)
                                                  Timothy P. Cairns (DE Bar No. 4228)
                                                  Peter J. Keane (DE Bar No. 5503)
                                                  919 North Market Street, 17th Floor
                                                  P.O. Box 8705
                                                  Wilmington, Delaware 19899-8705 (Courier 19801)
                                                  Telephone: 302-652-4100


DE:4887-1025-1414.2 03370.001                        4
                 Case 23-11469-BLS   Doc 663-1    Filed 12/12/23   Page 6 of 6




                                         Facsimile: 302-652-4400
                                         Email: ljones@pszjlaw.com
                                                dbertenthal@pszjlaw.com
                                                tcairns@pszjlaw.com
                                                pkeane@pszjlaw.com

                                         Counsel for Debtors and Debtors in Possession


 Dated: December 12, 2023               HOGAN MCDANIEL

                                        /s/ Garvan F. McDaniel
                                        Garvan F. McDaniel, Esquire
                                        DE Bar No. 4167
                                        gfmcdaniel@dkhogan.com
                                        1311 Delaware Avenue
                                        Wilmington, DE 19806
                                        Telephone: (302) 656-7540
                                        Telecopy: (302) 656-7599

                                        and

                                        James C. Moon, Esquire
                                        Florida Bar No. 938211
                                        jmoon@melandbudwick.com
                                        MELAND BUDWICK, P.A.
                                        3200 Southeast Financial Center
                                        200 South Biscayne Boulevard
                                        Miami, FL 33131
                                        Telephone: (305) 358-6363
                                        Telecopy: (305) 358-1221

                                         Counsel for Plaintiffs




DE:4887-1025-1414.2 03370.001                 5
